 

    
 

mfg _' ' .. ,_; l ::
~"'¥-“ .C f 'Clo;r;'p:@.ratx=@n; ~ -5'”"""=6 of P`r?°¢=é'$$
» “ ` ` 'Transmlti;al
.08/29120.11 _ '
. £T Log Numbe`r 519969840
To= ' Chrlstin;: Gillen l .
'I'ha Pnudentlal insuran;:_e C_orn any of Amerli:a ' ' -
;'Leg§l§ qu§rlmel.'ll:, .75,1 Brb`ad.; _ t~,_;é,c:lj Flpqr - 5 -' ~ -
I;Ne_wark, NJ; D.?“l 02
RE= -Frol;osa $_orued ln 'l'o_nno§§aq l :
'Eol;¢= `:

ease 3:`11-c\}¥00'86‘6 '

f :The Pr.u§éntlal ln_s§rance §o_m§am_y of Amex=l¢a (D_n_mestic State: NJ)

EN:;L¢!BED F§\RE G.QPIE$' DI_‘ l~_Ea_lN- FRQ.EBN B.EG¢I’W¢D§ l}\'- TRE BTATNTQEY ,’A§HNT 0F THB»A|ID\I'E GQ|\\PAN_Y 4a FGLLQW$I

'l’l`l'LE 0|‘ AUTI°N¥

noqqm§gr(n) LERY£IJ_; '

non n'l_'ll_\'aEll'G.¥=’

Nnum: u\=.ml`dr§l= .

on waco l_v.npgt:t=.'sis `wAa 'sa,mn:.o=' __j '

MTB 'Aun Hloun: `§F sylvaqu
.:w¢_lsu|t_'.'p'lou snmlEo 1

irreguqu on Ans_w§.h lqu.}f :

gmn_HE\!(i$_} l`!.¥}B:N.l!ll'lll.illil)g

' \
m\'c,»~§l.remzl_ ~?

$lHNEIII '
pins .l
NI_\JR_E;$B!

'TELEPHQH£¢ . :

 

 

 

Rl;bardA Jc`»hns`on and§ pa|,e. All_en, Trustees, Pltffs_. vs. Pr§dentl§l lnsurance ‘
Compan_y of Amerl_ca, lnc., D.fc ~ _
.Nwzie d:s'crepancy noted

'Let_l',er; ;S\._lmmc_ms, Complaint_, At_l:achmeht>‘

D.avlclso`n Cour_\r.y Ch§n_cer_y Coul't, TN
`_I,'._a_sc": # .111_1_06'lv= -__

' breach§ of Gbnc_mc_t Defendancs f_ailurie.- co convert insurance policy into preferle
P'?-l_. ”¥ - . .. .

 

§_ l"l' Cuq:oration $ystem, l<nuxvllle, 'l'N,

   

z B_.-y. Ge)'cl_fli:d Mall. ojn uslw/2011 §qstmé\rked: Nul~. Fo'st Marked" "

TEI`\\'|S~'$§.EH.
Wfthln 30: days .

§W.inston S. Evana ' -

'=Evans, Jnri`e_`s 6c _R¢z_(,(r\¢:l¢;lsll P.C. .' _ ; - j '. . .: .; ; -
1'1§- Suntr.§s't Plééa_ ' ' » 4 - ‘ ' - . ,
=401` .Co'mmo roe ' ~~ ,.f', '
Na$hviu.§,- TN 372'19'2405 '_: : : ;'j ' " d . ` .

615'259'4 """ 331 ' . t »-

 

' 1 'C'I"'hus r`etainec_l the turn§nt log, Re`t_aln D_ate: 08/29/2011 Expeqted Fur_gra Date:

09/0301/2

' lma

eSDl-‘1
_'E_masl_l _Notlflcar.iqn, l_.¢g§l Process Unlt l_ega_l; process,unit@prudential,com

..-»

C'|'Curporatlon$ystam ` "
_yAm :M,cl&ren `-
BO? =$, =Evy- Stre¢_:t _

wmata J‘N..av`a_zz-o.vw ' .
B'o_u- 592-§023 1 .

 

   

',;Pagmbf_ 1/5K ..
'§.. ' .; `; 4lnm`zmntlyn`, §§ngyeumlhbtrmml;mlwfnrcl' sgr_pomtlon'€i'_ __

 

quick 'mf¢: clement frth ln!n_rr_na!.ion. ¢`k_xm mt c_m\stltu;a a lu_g~.»\
npini<_m hs' `t`c uia` r_um:re o`I: a_ic`\'_\on. thermomt qf _damn§€`s, tl\a
1 ' ' - " ‘ m'wi:r= -dabe,: nr, a_h$' in'lormé)ién Qp§\¢n_\ned in trio `dhcumenu
k 1 ' = " ‘ ' :htmsjelvn’s:' Mdvlci\¢. is !ww!b.l¢. `fs')r; ‘»fdmw\*va' `€v'd
' , ' ' . dowm;:n_§ m'd for. :a\ivflg nppmprlg!g ilc`._\lbn. 'slgn_¢_u_z'resnn
_ 1 _': q,rcl_tlad mall mca_lpt_s_ upnnrm manhch pu_cka§a nn\y. nnc_
.§ .w\d‘:n_ti.€“ . _ l 1

' rmqrd ku"eplnu pagng bg\ly. and l_s§ gin'xvldejd w. thp,rp:,d§lcnt for : '

 

STATE OF TENNESSEE,
Depar|:ment of Commerce and lnsuranco
500 James Robe,rtson Parkway
Nashville, TN 37243-1 131

. brenda§meade@tn.gov
Arjgust 24. 2011
i”rudentia| |nsurance Co, Of America‘ l . l Ce'rtified Maii ~
800 S. Gav Street. Ste 2021. % C T C.orp. - Return Receint Reauested
Knoxvil|e, TN 37929-97‘10 7011 0470 0000 5066 4153
NAlC # 68241 Cashier '#- 4795

Re: Richard Johnson & C. Da|e Ailer\ V. Pruderitia| Insurance Co. Of America

DOGKE! # 11-1106-| V

To Whom it May Concern: .' - `~ .'

Pursuant to Tennessee Code Anno'cated §56~2»504. or §-56-§-506, the Department of _
Commerce and insurance was served August 16, 2011, on your behalf in connection With'the
above-styled proceeding Dooumentation relating to the subject is herein enclosed

Brer\da C. N|eade'
Designated Agen'r
Sen`/ice of Process

Enclosures `

cc: Chancery Court Clerk
Davidson County
One Pubiic Square. Suite 308
Nashvi||ei 'i'n 37201

Case 3:11-cv-00866 Document 1-1” __|_:_j|ed 09/13/11 F_>el_ge ;Qf_4§ Page|D #;§3

 

d‘-`.

irrij

IN THE cHANCERY. coURT MRMYIDSTQOUNTY TENNESSEE
AT NAs LLE'M 3. 31

UAV/¢§§D}}ié fri/0 CHAS]L_
. c“i¢'ih'£,‘§}}?,qr
RICHARD A. JOHNSON, and _
C_. DALE ALLEN, TRUSTEES, UB&H
» )
-Plaintiff, )
v § Cas N l i //06
. _ c 0.
. ) .
PRUI)ENTIAL INSURANCE COMPANY )
OF AMElU.CA, INC., ) ,‘
) ' l
Defendant. )
COMPLAINT

l. Plaintifr’, Richarc`l A. Johnson, Trqstcc [“Mr. Ioi'mson"] is a citizen and resident of

Davicison County, Tennessco. l l
t 2. Plaintiff, C. Daie Aiicn [“Mr. Allen”], is a citizen and resident ofDa.vidson County.,

Tenncsscc, . d

3. Dcfcndant, thc Prudential Insurancc Company of Amcrica, Inc. {“Prudontial”], is o
corporation organized and existing under the laws of New Jersey.

4. Pcudential conducts substantial business on a continuing basis in Davidscn County,
Tcnncssse. It also maintains offices in Davicison Coi.mty, Tcnncsse`e.

5. Thc events giving rise to this lawsuit occurred in Davidscn County, Tcnncsscc.

6. Vcnuc is proper in this Court.

7. Mr. Joimson and Mr. Alien [“thc Trcstecs"] bring this suit in their capacity as co-

trustses under an irrevocable Trust Agreemcnt dated Octobcr 17, 1996 for the Gary D. Sasser

Im'cvocabls Trust [“The Tru.st"].

Case 3:11-c-\/ QO§€G Dccument 1- 1 Filed 09/13/11 Page 3 of 43 Page|D #: 9

  
 

 

 

3. The Trustees bring this suit for the benefit of the Trnst.

9. On Septernber 14, 2000, Prudential issued a life insilrancc policy on the life ofGary
D. Sasser [Poiicy #B4 048 620][“the Policy”]. l

10. A true and correct copy ofthe Policy is attached as Exhibit 1.

11. Tiic insured under the Policy was, Mr Gary D. Sasser [“Mr. Sasser”]

12. The Policy was a tenn 1it`e insurance policy.

13. n The term of the Policy was 20 years

14. nrc face amount or the roney was s30,000,000.

15. Mr. ioi).rrsoli, as Trustee under the irrevocable Trust Agrcement dated October 17,
1996, or the snccessor in Trust was the owner and beneficiary of the Policy.

16, The Policy constituted a contract between Prudential, on the one hnnd, and the
Trustees and the Trust, on the other hand.

17. 4iii/hen the Polioy was issued, the following rating classifications were available from

Prudential:
- Scicct Prefcrred
' Prei"erred
- Standard

18. The Select Preferrcd and Prefcrred rating oiassitica.tion's were available only to
nonsmokers.
19. i\/lr. Sasser was and still is 'a nonsrnoker.

20. Mr. Sasser received the Prefened rating classification fror_n Prudential.

Case 3:11-cv-00866 Document 1-1 Filed 09/13/11 Page 4 of 43 Page|D #: 10

 

"‘i

21. At pages lO-l 1, the Policy provided for conversion to another plan of insurance ln
_ pertinent part, the Policy provided as follows:

Contract _
Specii`lcations The new contract will be in the same rating class as

this contract We will set the issue age and the
l premiums for the new contract in accordance with our
regular rules in use on its contract date.
(Underlining and italics supplied).
22. Thus, Prudential' was obligated, upon request from the Trustee, to convert the l?olicy
to a policy in the same rating class
23. Because the Mr. Sasser had received the Preferred rating classification Prudentiai
was required to convert tile policy to one in the same Prejerred rating class. l
24. As owner and beneficiary of the Policy and in accordance with the provisions ofthe
Policy, Tlte Trustees attempted to convert the Policy to a UL Protector l?olicy having the same
Prejérred rating class.
25. On Novernber 22; 2005, Prudential sent a letter to Mr. lohnson. [Exhibit 21 In

pertinent psrt, the letter stated as follows:

The purpose of this note is to summarize the process Prudcntial uses
to determine the rating class when a tenn policy' is converted to a new
contract under the conversion privilege in tire term contract The
rating classification of the new plan will be the same rating
classification as the term coverage being converted ifrhc same rating
classzfcan`on is available If the new policy requested does not offer
the same rating classification, the new policy Will be in the rating
class that is equivalent to that of the existing term policy.

In 2000, When ‘l`enn Plus Policy B'4043620 was issued, the rating
classifications available were SelectPreferred Prcferred and Stanclarcl,
where Select Preferred as the best available classification offered In
the case of Mr. Sasser's polic`y, he received our Preferrcd

 

 

 

Classiticati_on, which was our rating classification for nonsrnokers Who
did not qualify for the Select Preferred Classification. For contractual
conversions from a Tcrm Plus contract the rating classifications today
which arc equivalent to Select Preferred, Preferred and Standard arc
Preferrcd Nonsmol<er, Nonsrnoker and Smoker, respectively Our
current rating classification for nonsmokers who did not qualify for a
Select Preferred rating is Nonsrnoker. To be considered for the better
rating classification than Nonsrnolccr (Whicb is the contractually
guaranteed rating classification), lvfr. Sasser would need to go through
appropriate underwriting . . . 7

" (Underlining and italics supplied).

26. Contrary to Prudential’s letter, the Policy did not permit Prudential to issue a converted
policy based on an equivalent rating class. R.ather, the Policy required Prudcntiel to base the
converted policy on the same rating class. 'l`he same rating class was Preferred, not the purportedly
equivalent rating class of “nonsmolcer.”

27. On November 29, $iOOS, the Trustees sent a'letter to Prudential demanding Prndential
convert-tlie'l’olicy tea new policy with a “Preferred Non-Srnolcer" rating. [Exhibit 3] In pertinent
part, the letter stated as follows:

. . . l hereby elect to convert this policy to a PruLife UL Proteotor Life
Insurance Policy, insured by Gary Sasser, insurance amount
$30,000,000, Type A (Fixed) Deaih Benetit. Pursuant to the terms of
the ”l`errn Policy Prudential Financial is required to convert this policy
to a new contract “in the same rating class" as the Terrn Policy. The
\Terrn i?olicy’s rating class is “Preferred." Acccrdingly, we demand a
conversion to the current underwriting classification of “Preferred
Non-Srnol<er.” By the express terms of the ’I’errn Policy, this is the
“santc rating ciass," The Tenn Policy does not authorize conversion _
to “an equivalent rating class” as permitted by some of your
company’s_ contractual policy language contained in later issued
policies. '

At the conclusion of the ictter, the Trustees tendered a check in the amount of $385,282.00 for the

first annual premium on the converted policy.

Case 3:11-cv-00866 Document 1-1 Filed 09/13/11 Page 6 of 43 Page|D #: 12

 

 

28. On December 6, 2005, Prudential sent a letter to the Trustees [Exhibit 4]. In that letter,
Prudential refined to convert the policy to a new policy with a “Pret"erred Non-anoker" rating. in
pertinent part, the letter stated as follows;

Sinoe we are unable to issue a PruLife UL Protectcr policy With rating
classification Preferred Nonsmol<er without underwriting we arc
returning your check and paperwork The conversion annual premium
for a Ul'_. Protector with a rating classification of Nonsmol<er that
corresponds to the $385,282.00 mutual premium for the Preferred
Nonsmoi<er and utilizes your term conversion premium credit of
'3100,872.00 is ~$461,020.00. It` we receive-the application with the
annual premium payment of $461,020.00 or the Minimum lnitial
Premium of $53,005.28 by December 20, 2005, We will allow the
conversion to a PruLifc UL Protector with rating class Nonsrnoker, l
otherwise you will no longer have the ability to convert your term
policy. »

29. On February 16, 2006, the Trustees sent a letter to Prudential [Exhibit 5]. In pertinent
part, the letter stated as follows:

- In accordance with your letter dated November 6, 2005, and our letter
dated December 19, 2005; the Trust elects to convert the ’l`erm Policy
and we are enclosing the Application for Life Insurance or Pclicy
Change to convert the Tenn Policy. 'By converting this policy under
the terms of your letter dated November 6, 2005, and received by us
in early December 2005, we, as Trustees of the Gary D. Sasser
It'revocable Trust, expressly reserve all legal rights available to it as set
forth in our letter dated November 29, 2005.

30. Thus, the Trustees converted the Polioy to a PruLife UL Protector policy with rating
classification of nonsrnoker [“the Converted Policy"] in' accordance with l`-'rudential’s letter of
Deccmber 6, 2005. However, they expressly reserved their right to have the Policy converted to a
PruLife UL Protector With the same rating class as the Policy.

31. Prudential has failed and refused to honor its contractual obligation to convert the

Policy to a new policy having the same rating class .

Case §:11-cv-00866 Document 1-1 Filed 09/13/11 Pag§j of 4§ Page|D #: 13

 

i

32. The premiums Which the Trustees must pay for the Converted Policy ( PruLife UL
Proteetor policy with rating classification of nonsmoker) are much greater than the premiums which
they would be required to pay for a policy with the same rating classification as the Policy (Prci"erred). l

33. At the very least, Prudential was obligated to convert the policy to a Prul`_,ife UL
Protector with a Pret"erred Nonsmolcer rating classification d

34. The premiums which the 'l`rustees must pay for the Converted Policy ( PruLife UL
Protector policy with rating classification oi" nonsmolcer) are much greater than the premiums which
they would he required to pay for a policy with the Prci‘crred Nonsrnoker rating classification

35. Having agreed to issue a converted policy with the same rating class as the Policy,
Prudential was obligated to maintain that same rating class. That'rating class was “Preferred.”

36. thu Prudential eliminated the “Prefened" rating class instead of maintaining it, it
breached its contract with the Trustees and the Trust.

37. By eliminating the “Prei"erred" rating class, Prudential rendered itself unable to
perform its contract with the Trustees and the Trust.

_ 38. As statedin this complainta Prudential has breached the contract which it had with the v
'l`rustees and the Trust.

39. Prudential’s breach of contract has caused great damage to the Trustees and the 'l`rust.

40. Prudential owed to the Trustecs and to the Trnst a duty of good faith and fair dealing.

41 . As stated in this Complaint, Prudential has breached the obligation of good faith and
fair dealing which it owed to the Trustees and to the Trust. l

42. Prudential’s.breach of its obligation ofjgocd faith and fair dealing has proximately

' l

caused great damage to the Trustees and to the Trust.

6

_ 7 Ca§@_ §_:11-cV-00866 Document j1-"'1_v FiledeQ/lS/_ll _Fjagew€§ c_)f 43 E’ag_e|[}i#: 1_4

 

-1!‘_
L

43.

 

The Trustees have paid all premiums for the Convertsd Policy as thoscpremiums have

become due. 'l`hey will continue to do so.

PIUMISES CONSIDERED, the Trustees Demand:

1.

366300.00]

'l`hat they have judgment for the benefit of the Trus'c against Prudential for

' compensatory damages and prejudgment interest pursuant to T.C.A. §47-14~123.

'l`hat the Court reform the 'Contract between the parties so that the premiums which
must he paid for the Conyerted Policy are reduced to the amount which the Trustees
Would be required to pay if the rating classification for the Converted Policy had been
Pret`crred, rather than Nonsmol<cr.

in the alternative, that the Court reform the lContract between the parties so that the
premiums which must be paid for the Converted Policy are reduced to the amount
which the Trustees would be required to pay if the rating classification for the
Converted Policy had been Preferred Non-Srnoker, rather than Nonsmcker.

'l`hat all costs, including discretionary costs, be taxed to Prudential.

That they have such other and further relief as this Couit deems just and proper.

Winston S, Evans (#6281) k

Evans, J ones & Reynolds, P.C.

7l0 Suntrust Plaza

491 Cornrnerce St.

N|ashville, TN 37219-2405

(6_15) 259-4635

Attorneyfor PZain¢i;fz€s-, Rz'chard A. John.r_on
ahd C. Dale Allen, Trustees

`_Case 3:11-cv-00866 Document _'1-'1__ FiledeQr/lrS/ll _Page 9 of 43 Page|D #: 15

 

Case 3:11-cV-00866 Document 1-1 Filed 09/13/11 Page 10 of 43 Page|D #: 16

=

g @ Pr'!ldentlal 751 Bl'Oad Sf,@étr@i$éw§§

       

saw

lnsured GARY D SASSER

Agency W-NSOX

 

Term Life Policy. Provides a level benefit. Life insurance payable upon death within stated term period. Premiums
payable during Insured’s lifetime for stated premium period. After a period of level premiums, the premiums will
increase annually as shown under Premium Period on page 3. Convertible, as limited, but not renewable. Eligible for
annual dividends as stated under Dividends.

   
   

  
 
   

d~'i.n this contrac
ll the provisions off .
s part of the term period.

We will pay the benefici
in the term period. We “

    

PLEASE READ YOUR POLlCY CAREFULLY; it is a legal contract between you and Prudential.

 

LTl-§Oase 3:11-cV-00866 Document 1-1 Filed 09/13/11 page 11 0145 Pagelufi/

 

 

" GU|DE TL) CONTENTS
Page

Contract Data ...................................................... 3
Basic Contract lnformation About insurance Coverage and Premiums Payab|e Under the Contract

Definitions ....................................................... 6

The Contract ...................................................... 5
Entire Contract; Contract Modiiications; incontestability

Ownership ........................................................ ‘5

DeathBenefits .............. 6
Unearned Premium; interest on Death Benefit; Suicide Exclusion; lViethod of Payment

Beneficiary ....................................................... 6

Conversion to Another Plan of insurance ....................................... 7
Right to Convert; Conditions; Premium Credit; Contract Date; Contract Specifications

Change in Plan ..................................................... 8

Dividends ........................................................ 9
Dividend Options; Dividend Credits Described; Automatic Cash Payment

Premium Payment ................................................... 9
Payment of Premiums; Change of Frequency; Grace Period

Reinstatement ....................... d .............................. 10

General Provisions' ....................................... ~ ........... 10
Currency; Nlisstatement of Age or Sex; Assignment; Voting Flights

Settlement Options .................................................. 1 1
Options Descri`bed; lnterest Rate

Settlement Options Tables .............................................. 12

A copy of the application and any riders or endorsements can be found at the end of the contract

(T"`QS) Case 3:11-cV-00866 Document 1-';)139?3€(1 09/13/11 Page 12 of 43 Page|D #: 18

CONTRACT DATA

insured

GARY D SASSER Maie, |ssue Age 49

 

Rating Class

Preferred

 

Basic Contract Information

Policy Number Bh 048 620 '
Contract Daie September ih, 2000

Term Period 20 years

Premium Period 20 years (premiums for Basic Amount are level for 10

years, then increase annually for 10 years)

Beneficiary See Beneficiary Provision attachedn

 

Life insurance on the Insured

Bas z c Am¢unt $30,000,000.00

 

Schedule of Premiums

Contract premiums are due on the contract date and_every 12 months after
that date. The annual premium is $95,450.00 and changes as shown beiow.

Totai Annuai

 

Premium Chanqe Date(s) Contract Premiums
SEP lh, 2010 $365,150.00
SEP lh, 2011 $406,850.00
SEP 1h, 2012 5453,350.00
SEP lh, 2013 $507,650.00
SEP lh, 201h $569,450.00
SEP 14, 2015 $638,750.00
SEP 1&, 2016 $715,850.00

CONTRACT DATA CONTlNUED ON NEXT PAGE

Pag%£se(%§ll-cv-ooeee Docu@ erHdGR§iEhl Pao€ 13 01c 43 PaQ€lD #f 19

"‘OLIC‘l 00 `h 048 620

CONTRACT DATA CONT|NUED

Total Annuai

Premium Chanqe Date(s) Contract Premiums

 

SEP ih, 2017 $799,850.00
SEP ih, 2018 $891,050.00
SEP ih, 2019 $991,550.00

 

 

END OF CONTRACT DATA

Pa?'?aéé` 3¥3§)-0\/-00866 Docun@ll-P]?itlid@mia]ll Page 14 of 43 PagelD #: 20

LPTB§-th » ~ \0Lic‘ _°c' ":1+ 048 620

ENDORSEHENTS

(Oniy we can endorse this contract.)

P@@ase 3€95>0\/,-00866 Docun@-JPH[pdgmjzgpll Page 15 of 43 Pagel,D #: 21

l 0 £U\J\J

U D*+UHOO/_U \JU¢ \JU

 

 

DEFlNlTloNs

We, our and us.-Prudential.

Vou and Your._-The owner of the contract.

insured ._The person named as the insured on the first page. He or she need not be the owner.
issue date._-Same as the contract date.

Anniversary or contract anniversary.--The same day and month as the contract date in each
later year.

Contract year._-A year that starts on the contract date or on an anniversary

Attained age.-Th`e lnsured's issue age plus the length of time since the contract deter You will
find the lnsured's issue age near the top of page 3.

 

Entire Contract

Contract iv'lodifications

incontestability

THE CONTRACT

This policy and any attached copy of an application, including an application requesting a
change, form the entire contract We assume that all statements in an application are made to
the best of the knowledge and belief of the person(s) Who make them; in the absence of fraud,
they are deemed to be representations and not warranties We rely on those statements when
we issue the contract and when we change it. We will not use any statement, unless made in an
application, to try to void the contract, to contest a change, or to deny a claim.

Oniy a Prudentiai officer with the rank or title of vice president may agree to modify this contract,
and then only in writing.

Except for non-payment of premium, we will not contest this contract after it has been in force
during the lnsured's lifetime for two years from the issue date.

 

OWNERSH|P

On the contract date, the insured is the owner of the contract, unless a different owner is named
in the application. if a different owner is named, we will show that owner in a provision we
endorse in the contract The ownership arrangement in effect on the contract date will remain in
effect unless you ask us to change it.

if you wish to change the ownership of the contract, your request must be in a form that meets
our needs. The change will take effect only when we file the request; this will be after you send
us the contract, if we require it to issue an endorsement Then any previous owner's interest will
end as of the date of the request, even if the insured is not living when we file the request.

Whi|e the insured is llving, the owner alone is entitled to any contract benefit and value, and to
the exercise of any right and privilege granted by the contract or by us.

(T-€Base 3:11-cv-00866 Document1-1 Filed 10@,'3153/11 Page 16 of 43 Page|D #: 22

 

z ' ` l n x ____

 

Unearned Premium
lnterest on Death

Benefit

Suicide Exclusion

Method of Payment

DEATH BENEF|TS

if the insured dies in the term period, we will pay a benefit at the lnsured's death (e)<cept as we
state in the Suicide Exclusion) if this contract is in force at the time of death,' that is, the initial
premium has been paid and no premium is past due beyond the 31 day grace period we describe
under Premium Payment.

The benefit payable at the lnsured's death will be equal to the Life insurance on the insured as
described on a contract data page, plus any dividend credits, plus a return of any unearned
premium less any past due premium

This contract may provide other benefits on the death of the insured or benefits on the death of
other insureds if it does, each benefit will be listed on a contract data page, and a form
describing the benefit and the conditions under which it is payable will be included in this
contract. Any such benefit will be payable only if the contract is in force, unless the form that
describes the benefit states otherwise

When we pay a death benefit on any insured, we will return that part of the last premium paid for
that benefit that covers the period after the date of death.

Any death benefit described above will be credited with interest from the date of death according
to the laws of the jurisdiction where this contract is delivered.

if the insured, whether sane or insane, dies by suicide within two years from the issue date, this
contract will end and we will return the premiums paid. The contract will provide no further
benefit

You may choose to have any death benefit paid in a single sum or under an optional mode of
settlement (see Sett|ement Options).

 

BENEFlCiARY

You may designate or change a beneficiary Your request for a change must be in a form that
meets our needs, The change will take effect only when we file the request; this will be after you
send us the contract to be endorsed, if we require it. Then any previous beneficiary’s interest will
end as of the date of the request, even if the insured is not living when we file the request. Any
beneficiary's interest is subject to the rights of any assignee we know of.

When a beneficiary is designated, any relationship shown is to the insured, unless otherwise
stated. To show priority, we will use numbered ciasses, so that the class with first priority is
called class 1, the class with next priority is called class 2, and so on. When we use numbered
classes these statements apply to beneficiaries unless the form states otherwise:

1. Gne who survives the insured will have the right to be paid only if no one in a prior class
survives the insured.

2. One who has the right to be paid will be the only one paid if no one else in the same class
survives the lnsured.

3. Two or more in the same class who have the right to be paid will be paid in equal shares
4. if none survives the lnsured, we will pay in one sum to the lnsured's estate

Before we make a payment, we have the right to decide what proof we need of the identity, age
or any other facts about any persons designated as beneficiaries if beneficiaries are not
designated by name and we make payment(s) based on that proof, we will not have to make the
payment(s) again.

(T__Q§) Case 3:11-cv-00866 Document 1-1Pa§§%d 09/13/11 Page 17 of 43 PagelD #: 23

 

Right to Convert

Conditions

Premium Credit

Contract Date

Contract Specifications

 

CONVERS|ON TO ANOTHER PLAN OF iNSURANCE

You may convert this contract to a new contract of life insurance on the lnsured's life. You will
not have to prove that the insured is insurable

You must ask for the conversion in a form that meets our needs, while this contract is in force.,
and on or before the fifth contract anniversary. We may require you to send us the contract,

The new contract will not take effect unless the premium for it is paid while the insured is living
and within 31 days after its contract date, if the premium is paid as we state, it will be deemed
that the new contract took effect on its contract date and that this contract ended just before that
date. We will return that part, if any, of the last premium paid for this contract that is rnore than
was needed to pay premiums to the contract date of the new contract,

Upon conversion, we will allow a credit on each premium that is due or scheduled for payment
during the first year of the new contract.

if this contract has been in force for at least one year on the contract date of the new contract, we
will allow the full credit described below. if this contract has been in force for less than one year
as of that date, the credit will be reduced to consider the portion of a year for which this contract
has then been in force.

The full credit is equal to the premiums for the term insurance being converted that were due, on
the premium mode in effect at the time of conversion, during the twelve months preceding the
date of the new contract Extra premiums or charges for extra risks or extra benefits other than a
benefit for waiving premiums are not considered in determining this credit_

We will reduce each premium due or scheduled for payment in the first year of the new contract
to consider either the full or reduced credit, as appropriate

You may choose any contract date for the new contract, that is not after the date to which
premiums are paid for this contract, not after the fifth contract anniversary, and not more than
31 days prior to the date we receive your request.

The new contract will be in the same rating class as this contract. We will set the issue age and
the premiums for the new contract in accordance with our regular rules in use on its contract
date,

Except as we state in the next sentence, the new contract may be on any life or endowment plan
we regularly issue on its contract date for the same rating class, amount, issue age, and sex. lt
may not be: a single-premium contract; one that insures anyone in addition to the lnsured; one-
that includes or provides for term insurance, other than extended insurance; one with premiums
that increase after a stated time, if its first premium is less than 80% of any later premium; or
one with any benefit other than the basic insurance benefit and the waiver and accidental death
benefits we refer to below. v

The basic amount of the new contract may be any amount you ask for as long as it is at least
$10,000 and not more than the basic amount of this contract. if the amount you want is smaller
than the smallest amount we would regularly issue on the plan you want, we will issue a new

' contract for as low as $10,000 on the Life Paid Up at Age 85 plan if you ask us to.

(LT[_C@\§€ 3:11-cv-00866 Document 1-1 FiledaOng/;/L3/ll Page 18 of 43 PagelD #: 24

,._

lf this cont . has a benefit for waiving premiums in the lent of disability, we will include a
benefit for waiving premiums in the new contract if its premium period runs to at least the
lnsured's attained age 85 and if we would include a waiver benefit in other contracts lil<e the
new one.

We will not deny a benefit for waiving premiums that we would have allowed under this contract,
and that we would otherwise allow under the new contract, just because disability started before
the contract date of the new contract. But any premium to be waived for disability under the new
contract must be at the frequency that was in effect for this contract when the disability started
We will not waive any premium under the new contract unless it has a benefit for waiving
premiums in the event of disability, even if we have waived premiums under this contract.

lf this contract has an accidental death benefit, we will include an accidental death benefit in the
new contract if we would regularly issue contracts like the new contract with that benefit. But
you must ask for the benefit in your request for conversion, and the basic amount of the new
contract must be no larger than the basic amount of this contract, The amount of the accidental
death benefit in the new contract will be the smaller of the basic amount of the new contract and
the amount of the accidental death benefit in this contract.

Any benefit for waiving premiums and any accidental death benefit in the new contract will be
the same one, with the same provisions, that we put in other contracts like it on its contract date.
ln any of these paragraphs, when we refer to other contracts, we mean contracts we would
regularly issue on the same plan as the new contract and for the same rating class, amount, issue
age and sex.

 

(DT_97)

CHANGE lN 'PLAN

You may be able to have this contract changed to another plan of life insurance other than in
accordance with the requirements for conversion we describe above. Any change will be made
only if we consent, and will be subject to conditions and charges that are then determined.

Case 3:11-cv-00866 Document 1-1 Filed 09/13/11 Page 19 of 43 Page|D #: 25

Page 8

iu ‘V\J\./

V u~f\.l~rb\'.l¢.u VV'~\' \Ja

 

Dividend Dptions

Dividend Credits
Described

Automatic Cash
Payment

 

DlVlDENDS

We do not expect to credit any dividends to this contract, lf we were to pay a dividend, we would
decide each year what part, if any, of our surplus to credit to this contract as a dividend

We will credit any dividend on an anniversary if the contract is then in force.

lf the contract is in force on a premium paying basis and if you ask us in a form that meets our
needs, you may choose any of these uses for any dividend:

1. Cash._We will pay it to you in cash.
2. Premium Reduction.--We will use it to reduce any premium then due.
3. Accumulation._-We will hold it at interest The rate will be at least 3% a year.

lf you have not made another choice by 31 days after the anniversary, we will use the dividend .
as we state under dividend option 3. You may surrender any accumulations, but we must have
your request in a form that meets our needs.

The phrase "dividend credits" means the total of any dividends and interest we hold under
dividend option 3 and any other dividends we have credited to the contract but have not yet
paid

We will pay promptly in cash any dividend credits that exist: (1) at the end of the grace period of
a past due premium; (2) on the date this contract is exchanged for a new contract of life
insurance on the lnsured's life; or (3) at the end of the term period

 

Payment of Premiums

Change of Frequency

(pT_C

Grace Period

PREl\/llUl\/l PAYl\/lENT

The schedule of premiums shows the amounts of the premiums and when they are due. These
premiums are due only while the lnsured is living and only during the premium period Each
premium is to be paid by its due date. lt may be paid at our Home Office or to any of our
authorized representatives upon the delivery of a receipt signed by an officer of the company
with'the rank of vice president or above.

lf you ask us and we agree, you may change the frequency of premium payments. The more
often premiums are due, the larger the total amount that will have to be paid for a contract year.

We grant a 31 -day grace period for paying each premium except the first one. lf a premium has
not been paid by its due date, the contract will stay in force during the grace period |f a premium
has not been paid when the grace period is over, the contract will end and have no value, except
as we state under Dividends.

e_3r'§]l-cv-00866 Document 1-1 Filedpg§;;l§/ll Page 20 of 43 Page|D #: 26

 

 

RE|NSTATEl\/lENT

You may reinstate this contract after the grace period of a past due premium if: the term period
has not ended; the premium payment is not past due more than five years; and you prove to us
that the insured is insurable for the contract

You must pay us all premiums in arrears with compound interest,' the rate will not exceed 6% per
year.

 

Currency

Misstatement of

(T--Q 5)

Age or Sex

Assignment

Voting Rights

 

GENERAL PROVlSlONS

Any money we pay, or that is paid to us, must be in United States currency.

lf the lnsured's stated age or sex or both are not correct, we will change each benefit and any
amount to be paid to what the premium would have bought for the correct age and sex.

The Schedule of Premiums may show that premiums change or stop on a certain date. We may
have used that date because the lnsured would attain a certain age on that date. lf we find that
the issue age was wrong, we will correct that date.

We will not be deemed to know of an assignment unless we receive it, or a copy of it. We are not
obliged to see that an assignment is valid or sufficient This contract may not be assigned to any
employee benefit plan without our consent. This contract may not be assigned if such
assignment would violate any federa|, state, or local law or regulation prohibiting sex distinct
rates for insurance

We are a mutual life insurance company. Our principal office is in Newark, New Jersey, and we
are incorporated in that State. By law, we have 24 directors. This includes 1 6 elected by our
policyholders (four each year for four year terms), two of our officers, and six public directors
named by New Jersey's Chief Justice.

The election is held on the first Tuesday in April from 10:00 A.lVl. to 2200 P.lVl. in our office at
Prudential Plaza, Newark, N.J. After this contract has been in force for one year, you may vote
either in person or by mail. We will send you a ballot if you ask for one. Just write to the
Secretary at Prudentia| Plaza, Newark, New Jersey 07102, at least 60 days before the election
date. By law, your request must show your name, address, policy number and date of birth. Only
individuals at least 18 years old may vote.

Case 3:11-cv-00866 Document 1-1 Filed 09/13/11 Page 21 of 43 Page|D #: 27

Page 10

"’_'°__’_`_--_" '_ lt ` g 1 ~ rml___

a

Options Described

Option 1 (lnstalments
for a Fixed Period)

Option 2 (Life lncome)

Option 3 (lnterest
Payment)

Option 4 (lnstalments
of a Fixed Amount)

Option 5 (Ncn-
Participating lncome)

interest Rate

 

SETTLE|V|ENT OPTlONS

You may choose to have the proceeds (that is, any death benefit or any amount payable upon
surrender of the contract) paid in a single sum or under one of the optional modes Of settlement
described below.

lf the person who is to receive the proceeds of this contract wishes to take advantage of one of
these optional modes, we will be glad to furnish, on request, details of the options We describe
below or any others we may have available at the time the proceeds become payab|e.

We will make equal payments for up to 25 years. The Option 1 Table shows the minimum
amounts we will payw

We will make equal monthly payments for as long as the person on whose life the settlement is
based lives, either with payments certain for 120 months or until the sum of the payments
equals the amount put under this option. The Option 2 Table shows the minimum amounts we
will pay. But, we must have proof of the date of birth of the person on whose life the settlement is
based The settlement will share in our surplus to the extent and in the way we decide.

We will hold an amount at interest. We will pay the interest annually, semi~annua||y, quarterly,
or monthly.

We will make equal annual,` semi-annua|, quarterly, or monthly payments for as long as the
available proceeds provide.

We will make payments like those of any annuity we then regularly issue that: (1) is based on
United States currency; (2) is bought by a single sum; (3) does not provide for dividends; and
(4) does not normally provide for deferral of the first payment. Each payment will be at least
equal to what we would pay under that kind of annuity with its first payment due on its contract
date. lf a life income is chosen, we must have proof of the date of birth of any person on whose
life the option is based Option 5 cannot be chosen more than 30 days before the due date of the
first payment.

Payments under Options 1 and 4 will be calculated assuming an effective interest rate of at least
31/2% a year. Under Option 3 it will be at an effective rate of at least 3% a year. We may include
more interest. `

(DT §§ase 3:11-cv-00866 Document 1-1 Fi|§d 09/113/11 Page 22 of 43 Page|D #: 28

age 1

 

OPTlON 1 TABLE

.D"

 

SETTLEl\/lENT OPT|ONS TABLES

OFTION 2 TABLE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NHN;MUM AMOUNT @F iviiNlMui\/i AiviouNT or MONTHLY PAYMENT Foa EAcH si,ooo, THE FiasT
MONTHLY PAYMENT FOR PAYABLE iMMEDiATELY
EACH $1,000, THE F|RST KlND OF L|FE lNCOlVlE K|ND OF LlFE lNCOlViE
PAYABLE llVllVlED|ATELY AGE 10-Year |nsta|ment AGE 10-Year instalment
LAST Certain Refund LAST Certain Refund
B|RTHDAY Nlale Female lVla|e Female BlRTl-lDAY lVlale Female lVlale Female
Number |Vlonthly
of Years Payment 10 33.18 $3.11 $3.17 $3.10 45 $4.06 $3.82 $3.99 $3.78
and under ‘ ` 46 4.12 3.86 4.03 3.81
11 3.19 3.12 3.18 3.11 47 4.17 3.90 4.08 3.85
7 12 ,3.20 3.13 3.19 3.12 48 4.23 3.94 4.13 3.90
1 $84.65 13 3.21 3.14 3.20 3.13 49 4.28 3.99 4.18 3.94
2 43_05 14 3.22 3.15 3.21 3.14
3 29.19 50 4.35 4.04 4.24 3.98
4 22`27 15 3.24 3.16 3.23 3.15 51 4.41 4.09 4.29 4.03
5 18.12 16 3.25 3.17 3.24 3.16 52 4.48 4.15 4.35 4.08
17 3.27 3.19 3.25 3.18 53 4.55 4.21 4.41 4.13
6 15.35 18 3.28 3.20 3.27 3.19 54 4.62 4.27 4.48 4.19
7 13.38 19 3.30 3.21 3.28 3120
8 11.90 55 4.70 4.33 4.55 4.24
9 10.75 20 3.31 3.22 3.30 3.21 56 4.78 4.40 4.62 4.30
10 9.83 21 3.33 3.24 3.32 3.23 57 4.86 4.47 4.69 4.37
22 3.35 3.25 3.33 3.24 58 4.95 4.54 4.77v 4.43
11_ 9_09 23 3.36 3.26 3.35 3.25 59 5.05 4.62 4.86 4.50
12 8.46 24 3.38 3.28 3.37 3.27
13 7.94 60 5.15 4.71 4.94 4.58
14 7.49 25 3.40 3.30 3.39 3.29 61 5.25 4.79 5.03 4.66
15 7.10 26 3.42 3.31 3.41 3.30 62 5.36 4.89 5.13 4.74
27 3.45 3,33 3.43 3.32 63 5.48 4.98 5.23 4.82
16 6.76 28 3.47 3.35 3_45 3.34 64 5.60 5.09 5.34 4.92
17 6.47 29 3.49 3.37 3.47 3.35
18 6.20 65 5.73 5.20 5.45 5.01
19 5.97 30 3.52 3.39 3.49 3.37 66 5.87 5.31 5.57 5.11
20 5.75 31 3.54 3.41 3.52 3.39 67 6.01 5.43 5.70 5.22
32 3.57 3.43 3.54 3.41 68 6.15 5.56 583 5.34
21 5,56 33 3.60 3,45 3.57 3.44 69 6.30 5.70 5.97 5.46
22 5.39 34 3.63 3.47 3.60 3.46
23 5.24 70 6.46 5.84 6.11 5.58
24 5.09 35 3.66 3.50 3.63 3.48 71 6.62 5.99 6.27 5.72
25 4.96 36 3.69 3.52 3.66 3.50 72 6.79 6.15_ 6.43 5.86
37 3.72 3.55 3.69 3.53 73 6.96 6.31 6.60 6.01 -
38 3.76 3.58 3,72 3.56 74 7.13 6.49 6.78 6.18
39 3.80 3.61 3.75 3.58
75 7.30 6.67 6.97 6.35
40 3.84 3.64 3.79 3.61 76 7.48 6.85 7.17 6.53
. 41 3.88 3.67 3.82 3.64 77 7,66 7.04 7.38 6.72
'Vlulf'P'\/Th@ monthly amount 42 3.92 3.70 sss 3.67 78 7.33 7.24 7.60 6.93
bV2~939 f°rq}‘a"er'\/' 43 3_97 3.74 3.90 3.71 79 soo 7.44 7.83 7.15
5.952 for semi-annual or 44 401 378 3'94 3_74
11'804 for annual 80 8.17 7.64 8_07 7.33
and over
: - -00866 Document 1-1 Filed 09/13/11 Pa e 23 of 43 Pa e|D #: 29
(T--95) ease 3 ll CV Page 12 g g SWL13

1

@ Prudentlal `\@ Pr ' t »‘

lnsured

'»surance Company
of America

Po|icy No.

GARY D SASSER Bl+ 043 620

 

Beneficiary Provision

The proceeds that aris`e"from the lnsured's death will be payable in one sum to
RICHARD A. JOHNSON, `l'rustee under an irrevocable Trust Agreement dated October
17,1996, or the successor (s) in trust, Beneficiary.

ln making payment to any Trustee, we have the right to assume that the Trustee is
acting in that fiduciary capacity until we receive written notice to the contrary at
our Home Office or Service Office, as the case may be. lf we made any payment (s) to
the Trustee before we received the notice we will not have to make the payment (s)

again.

 

OBPAJ£%@H-

 

 

 

Endorsed by attachment on Contract Date for the Company

Bv

,itw_,` S\.Rl»`slr

Secretary.

vf“b?oeea Document 1-1 Filed 09/13/11 Page 24 of 43 PagelD #: 30

@ Prudentlal fha h n

.nsurance company
of Amer i ca

lnsured Policy No.
GARY D SASSER Bh-OLiB-SZO

 

Ownership and Control

Except as we may state below, all rights of ownership and control under this contract
_will belong to the owner (s) shown here: RICHARD A. JOHNSON, Trustee under an
irrevocable Trust Agreement dated OCTOBER 17,1996, or the successor (s) in trust.

While the insured is living, the owner (s), with no one else‘s consent, is entitled to
any benefit and value, and to the exercise of any right and privilege granted by the
contract or by us. But if we are settling with an owner or someone else who is not
the lnsured, then our consent is needed for a settlement option to be chosen for any
proceeds that may arise other than from the lnsured’s death.

Endorsed by attachment on Contract Date for the Compan)

Bv _lm`,` S\W

Secretary.

 

 

 

C%lsne é?f’f?c?v- c‘)°e°ee Document 1-1 Filed 09/13/11 Page 25 of 43 PagelD #: 31

 

TH’E ‘PRUDENT|A|_ Nur,_;J-er '
" lNSURANCE CUMPANY Bli 01+8 620
OF AMER|CA GARY D SASSER

 

The Companv is authorized to change the application for this contract, so that the contract is issued: -

ON THE PRUDENTlAl_ TERM PLUS PLAN.

The undersigned agree(s) that this form is a part of the application and is to be put in the contract

 

 

 

 

Signature of Proposed insured or Annuitant
Date
?/02/ /p@ Signature of App|icant( (lf other than proposed lnsured or Annuitant)
Witness to signature(s BM%V` M
: (lf applicantyr{ is rn or corporation, show that company’ s narne)

 

 

This copy is to in the Contract. (Signature and title of officer signing for that company)

Printed in U.S.A.

Case 3£1£1-0\/- -00866 Document1-1 Filed 09/13/11 Page 26 of 43 Page|D #: 32
COMB 1016

MC{`\V._ l \| MI`Llh

\.b. @ Pl.ud€ntia_l ' "Application for Life lnsurance

 

[:l The Prudential insurance Company ofAmerica ~ C~{ @f-§ hp`l':PhOliCy Chan§e
m Pruco Life insurance Cornpany, a subsidiary of F:h f?i" 1 b °'T “ 4
The Prudentja/ lnsurance Company ofAmerica n _
Corporate Offices, New rk, N )WJQ§Y § 3 35 00 JU\, 27 511 6~ 51
Pai'fl Policy number ip l:] CheCk here ifpolicy change,

 

About the 1 e of primary p used sured (or current/nsuredperson, ifpo/icy change)
Primary §@Lf/i/\ B/) {1@£ @SS/Cl/
Pmpo$€d /F/rstnamejdidd/e initial, /astname w .,
lnsured ‘- ' ' ~

 

 

 
 

. SocialSecurity number _;;,:.…».,
.Sex lj_female Wmale

. Maritalstatus dising|e |:] married [}widowed i_`_|separated [] divorced

, Date of birth /
month day year
Age

. State of birth {countryifn /)tU..(D/l$} TN

. Billing address 5// /(//] /d}/i §§ }C U_):SL{/ 7[€ Mé?/OO
{str et, cl state /P}
/\id( §i'\vi /th 7`/\1 3791 9»8911<@

9. Home address [_-1[_05 @MO/Bi/@( 07ij

//`fdifferent) { eet, city, state, ZJF')

conti/1114 71\1 356 O/ . ‘
10. Hometelephone number wi § §2,§3 355 '

11. Businesstelephone umber ( ):ZC@) ?)ig y
12. Current employer nAl/e//j&z_ 77a K<KQVC~SS

13. List all existing life insurance coverage I:l Checl< here if none

coupom.:>w~

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Year Type of To be
Company » Amount issued insurance replaced?
,` l] individual l:l Yes
`1"&\ {Q~/TL $f>l Cid')lU}-j g€roup EE’NO
' |ndividual Yes
M {gQ/…WJ 33 W').\O §) §Group grid
_ |ndividual ¥es
SC… $ §§ T% ,10‘3 §Groui) §”N`o
|ndividual Yes
UO/ $g,s s pto E»N»
Ur\HtU UW w 31 §031°““ §iii<iil|i[:iuai gi/v;;
flC/hll’l ` $ /G neb [l Group NQ
la A" adler Name relationshiptopn`maiy sex dateofbiith age state ofbirdi totall einsurance
Pmposed (ii/st, in/tfa/, iast) proposed insured (F/M) {M/D/Y) _ (countryr`fnotl/..S`,) in all companies
lnsureds `
(/nclude
applicantif
requesting
Applicant's
Waiver of
Premium
[AWF]
Benefit)

 

 

 

f\_l -F /l’) F)»'\nnlr\ +F' -2-2
‘““"U

'DRD 95200<9038€ 3:11-cv-OOSQ_6 Document1-1 i-iieov§/‘lo/11 Page ,_. o. W -

..~ ` . _ /

P§n 1

 

 

 

 

 

 

 

 

 

  

 

 

 

 

AF- 7 ion for l." 7 s 7 Aca or Policy Change
' E Coverage n 1. Plan ofinsurance f@<:l,
information lfapplicableto the plan, check ne. [:i Leve|Death eneht [:i Variab|e Death Benefit
y 2 lnitia|amount of insurance $¢§)i l f il §,l )Q~)Z
3. Supplementary benefits and riders
|:i WaiverofPremium i:] Accidental Death Benei'it $
l:] Applioant‘s Waiverof Premium [:} Option to Purchase Additionai lnsurance (OPAI) $
ij Automatic Premium Lgan § Uption to Purchase Paid-up Life insurance Additions
E Acceleration, of Death Benehts lino/ude details in section G, Special Bequests)
(Living Needs Beneiiti
Other riders and benefits lind/cate amount Where applicao/e)
uBeneiiciarieSL Beneficiary information n Relationship to primary
and Nam@ sed insured
- Primary ,/LL
DWnerShlP (C/ass ll '
(lftrustprovrde ’Z§
name of trust Contingerrt
trustee and date {Class 2)
afoust) `
2. is the policyowner someone otherthan the primary proposed insured? Yes i:| No
(If Yes, p vide infer §nqsgc/ requested below )
Name 651/11 gil dr/.Tm$:l`d§’l‘€d 'y'"’l@"oare 011111111 1 1
(F1js §n:?U/U&d middle 1n1tial last namely month day year
Address }\./l)\y\,§/( U/U m Sj¢mjj Sk» k;;z[OO
ls state, lP)
lei§i’m iit inv zaeici. 8%<@
la payment ia. Within the past 90 days, has any proposed insured been hospitalized or been advised by a member
information of the medical profession that he or she needs hospitalization for any reason other than for normal
pregnancy or well -baby care? l:i Yes M
b. Within the past 12 months, has any proposed insured received treatment or advice from a member
of the medical profession for heart disease, chest pain, stroke or cancer (except skin)? [] Yes Ei’N/o
2. ls a medical examination required on the primary proposed insured?_ i:i Yes M
second proposed insured? [:] Yes E’No”
3. Premium payment mode lcollect full moda/ premium ifprepaid)
iZ|/Annua| i:i Semiannual i:i Uuarterly U Monthly
[i Electronic Funds Transfer(El-T) i:] PayroliBudget [] GovernmentAllotment

4. Amount of prepayment submitted with this application $ (include any unscheduled premium peymenis)
ij None (must be None if 1a or 1b is Yes, except for Gibraltar[G/B]products) _

5. Date prepayment collected, [ [

mont/1 day year

 

n Replacement For any proposed insured, would this` insurance replace or cause a change in any existing

insurance or annuity in any company? (If Yes, enclose all required replacement forms} l:i Yes ENo

 

['] Specia|
Requests

 

 

 

 

~ oRDoozoo-es CaSe 3:11-cv-00866 Document 1-1 Filed 09/13/11 Page 38 0145 PageiL) #: 54

s :Par*ld

on Proposed

insureds

erdditiona|
Coverage

ll Changes

b ’ »,,,'plication` .it» ..surance or Folicy Chenge
m Baci(gfound 1. Has either the primary proposed insured or second proposed insured m any, ever used tobacco w

other nicotine products such as cigarettes, cigars, pipe, chewing tobacco, snuif, nicou`ne gum or
nicotine patch? llf Yes, provide date when last used and indicate all types of products.) E/`i'es

Date (mo.,yr) P uct(s) `
Primaryproposed insured ij (Q§/:§§l l JSEQ f<§»~@£/‘

Second proposed insured

2. at are.the occupation az)d Y of the primary proposed insured?
Wiir… is l 35

3. Within the last two years, has any proposed insured done or does he or she plan to do the following:
a. operate or have any duties aboard an aircrait, glider, balloon or similar device? E. Yes
(lf Yes, complete Aviation Ouestionnaire.)
b. participate in hazardous sports, such as auto, motorcycle, snowmobile or powerboat
competitions/exhibitions, scuba diving, mountain climbing, parachuting, skydiving or any other
such sport or hobby? (If l’es, complete Avocation Ouestionnaire.) l:] Yes

4. ls any proposed insured applying for or requesting reinstatement or policy change(s) of any
other lite or health insurance policy? {lf Yes, provide insurance company, policy plan and amount) l:] Yes

 

 

 

 

 

 

 

 

 

 

 

 

5. Has any proposed insured been convicted of, or currently charged with, the commission
of any criminal offense - other than the violation of a motor vehicle law- within the last l0 years? ij Yes
{If Yes, provide details.)

 

 

 

  

_‘ _l__m

 

ateo_wu issue of primary proposed insured

     

 

ber and st

 

` `~ »~ '- ’»~!

b. ln the lastthree years, has any proposed insured

 

 

(1) had a driver’s license denied, suspended or revoked? U Yes
(2) been convicted ofor cited for '
(a)three or more moving violations? l:] Yes
(b) driving underthe influence of alcohol or drugs? l] Yes
(3) been involved as a driver in two or more auto accidents? [i Yes

(lf Yes to any of the above, provide details, including type of violation, accident or reason for
denial, suspension ar re vocation.)

 

 

 

 

 

7. Does any proposed insured plan to live or travel outside the United States'or Canada within the next
12 months? {lf Yes, list countries and purpose and duration of each trip.) [l Yes

 

 

 

 

 

Complete only if this is an application for additional coverage on a person already covered by a
Prudentia/ or Pruco policy with an application date within three months of the date of this application

To the best of your knowledge, has the health orthe mental or physical condition of any person

proposed for insurance changed since the answers and statements were given in the application

included i_n policy number _________? ij Yes

lli Yes, complete the appropriate PartZ Medical lnforrnation section.)

Changes made by the Company (not applicable in New Mexico or West Virginia)

UNo

M

a/No
man

E’No

mla
UNo
l§i/No

zi/No

UNO

 

 

. A,M n fm mcmonagng it- Q'-'\
`@RDSBZUO 98 riese 3:11-Cv-C10866,._ Document 1-1 l-ileo waits/tt rage ,_s w ~ . d

Partz ` ~Medicallntormatir'"' Ar `fiiirif°ri ` i¢°°rP°ii¢vChnnga

 

53 PhYSlCian Primary proposed insured

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lmrmation Ph sic/anlastconsu/t d
Name /.>f T©l/i% MS(D/)
.Address @OU/Ul /l% W
lstreet, citv, state, Z/P)
Telephone numberl l Date last seen j? 7
Reason last seenQ/L£ FL OID / /QB ’ //LO l/M mw
Primarv physician
- Name D¥ `/F©l/L% }/hkd»§\o/]
Address 600 U/M(L W
(street, city, state, ZIP)
Telephone numberl l Date last seen '(H?
Reason last seen ( yU/@/£/(/(/lp ]/ /&bj /' w mW/T\Q"QJ '
Second proposed insured or applicant for Applicant's Waiver of Premium (AWP)
Ph sic/an /ast consulted
Name
Address
(street, city, state, Z/Pl
Telephone numberl l Date last seen
Reason last seen
firi'r_riMM
Name
Address _ l
(street; city, state, ZlP)
Telephone numberl l Date last seen
Reason last seen
Mllisi°‘i' Heigm weight
Measuremems

 

Prirnary proposed insured l lp '/ /( 9’/©

Second proposed insured

 

 

 

 

 

 

 

AWP applicant

 

 

» '03995290‘98 Case 3:11-cV-00866 Document 1-1 Filed 09/13/11 Page 3001c 43 PagelD #: 36 _

P€tl`tz w MEdiCal lnil)l’mai_, s y . n 4'.rationiorL. .i, ince or,Policy Chango
m Cdf&gory`il 1. Family record

    

Ch&ng% Current age or Year and cause Current age or Year and cause
and plans at ofdeath a at ofdeath
otherman Father hdother

. Brother Srster
Glbmhar Brother Sister
(G|B) Brother Sister

2 Has anyone proposed for coverage been diagnosed with or treated by a member of the medical

profession for

a, chest pain or any disorder ofthe heart or blood vessels? ' l:l Yes [Z/Ng
b. high blood pressure? l:] Yes lZl/No
c. cancer, tumor, |eul<emia, melanoma or |ymphoma? El Yes @/No
a. diabetes ar high broad sugar'.i ` 4 r:i Yes " @/No
e. mental or psychiatric illness? l:] Yes lZl/No

f. Acquired immune Deficien'cy Syndrome (AlDS) or AlDS~Related Complex (ARC)? (Maine: this
question may be answered No if an individual has tested HlV positive and does not have
symptoms of the disease AlDS such as dry coughs, skin lesions, weakness, fatigue, weight loss

or loss of appetite.) ~ l:i Yes lZi/No
g. infection caused bythe Human |mmunodeiiciency Virus (H|V)? (Not applicable in Califomia,

Connecticrrt and Maine. Wisconsin: AlDS virus HlV antibody testing is limited to FDA-licensed

enzyme immunoassay and contirmatory HlV antibody tests. Any test performed at an anonymous

counseling and testing site is confidential and need not be revealed on this application.) ij Yes lZ/No

h. any sexuallytransmitted diseases? ' |:l Yes lZi` No

i. asthma or any disorder ofthe |ungs? [:l Yes E]/No

i. any disorder ofthe brain or nervous system? ~ l:l Yes E/ No

k. hepatitis or any disorder ofthe liverl stomach orintestines? |:i Yes ZNo

l. any disorder oithe kidney or urinary tract? [l Yes Q/No

3. |s anyone proposed for coverage currentlytaking prescription medication? v l:l Yes Q/No

4'. Other than above, has anyone proposed for coverage

a. been a patientin a hospital or other medical facility? [i Yes B/No
b. in the lasttive years, had or been advised to have surgery, medical tests (other than HlV) _
or diagnostic procedures such as ECGs,stress tests, X-rays, blood tests, urine tests, etc.? giles [l No
\ \ \

5. Has anyone proposed for coverage

a. used, or is he or she now using, cocaine, amphetamines, marijuana, heroin or other drugs,
except as prescribed by a member ofthe medical profession? l'_:l Yes CZ/NO

b. had orbeen advised to have treatment or counseling for alcohol or drug use? y |:l YES END
6. Does anyone proposed for coverage have any disease, disorder or condition not previously mentioned? l:] Yes B/No

7_ Has anyone proposed for coverage had lite or health insurance declined, postponed orissued
with an increased premium? (Missouri: this question may be answered No if an individual has

been declined for coverage.) ._ l:l Yes Zl/No
8. ls anyone proposed for coverage currently unable to perform his or her normal daily activities or -
all normal occupational duties on a full~time basis atthe customary place of employment? ~ l:] Yes ;E(No

9. Has anyone proposed for coverage requested or received disability or compensation benehts? [] Yes /l]/No

 

 

`:"E'art 2

ME‘diCBl lnfOl'ma"-"`n cationi_oi ` `HnCo orPolicy Changa

 

 

 

 

 

 

w ‘ v . ," w
Ll:L] §81890¥¥ " 10.Details of 'Yes" answers for questions 2-9 g

Change$ Cluestion number indicate illness, hospitalization, reason Dates and Name, address and'telaphone

d P| ns and name of proposed for checkup, medication and any advice or duration number_of medical f
an a insured treatment given by a medical professional of illness ' professionals and hospitals
otherthan 1 ‘
Gibraitar /i ’
cia elias hope ii/?_i diem cr umwa
(continued) _ J `TM U,/Z' w “€ M / §§

/ /

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For additional medical details, use another application

 

k _-e 3:11-cv-ooeee' t» Document 1-1 Fileol 09/13/11 Page 32 or 43 PagerD #: se

(96) Case 3:11-cV.-00866 Document 1-1 FilquQQ/§£/ll Page 33 of 43 PagelD #: 39

Term Life Po|icy. Provides a level benefit Life insurance payable upon death within stated term period. Premiums
payable during lnsured's lifetime for stated premium period. After a period of level premiums, the premiums will

increase annually as shown under Premium Period on page 3. Convertible, as limited, but not renewab|e. Eligible for
annual dividends as stated under Dividends.

m 97 Case 3:11-cV-00866 Document 1§1 Filed 09/13/11 Page 34 of 43 PagelD #: 40

Case 3:11-cV-00866 Document 1-1 Filed 09/13/11 Page 35 of 43 Page|D #: 41

w Prud€ntial @ blilancial The Prudential lnsurance quihsa y'of America

213Washingt0n Sireet,i\lewa§ltxm 74 2 fees

 

saw gm
Novemberzz, 2005 P!§-,g, 30
Richard Johnson, Trustee C::`;
Wauer Lansden norton & Davis, PLLc troy

511 union street " _.
suite 2700 \\@€&¢¢
Nashville,TN 37219

Re: lnsured: Gary Sasser Policy Number: B4043620

Dear Mr. Johnson,

The purpose of this note is to summarize the process Prudential uses to determine the
rating class when a term policy is converted to a new contract under the conversion
privilege in the term contract. The rating classification of the new plan will be the same
rating classification as the term coverage being converted if the same rating classification
is available. lf the new policy requested does not offer the same rating classification, the
new policy will be in the rating class that is equivalent to that of the existing term policy.

ln 2000, when Term Plus Policy B4048620 was issued, the rating classifications available
were Select Preferred, Preferred and Standard, where Select Preferred was the best
available classification offered. ln the case of Mr. Sasser's policy, he received our
Preferred classification,tw,h¢ich_was;,ou_r;;r,_at__ing;..clas,si,fica,t~ion_.for nonsmokers who did not
qualify for the Select; Rrefer:r; d'=classification;~" Fo!;contractual~conversious;_.._fromt.'a*t"l'erm
Plus contract, the rating classifications today which are equivalent to Select Preferred,
Preferred and Standard are Preferred Nonsmoker, Nonsmoker and Smoker, respectively.
Our current rating classification for nonsmokers who did not qualify for a Select Preferred
rating is Nonsmoker. To be considered for a better rating classification than Nonsmoker
(`which is the contractually guaranteed rating classification), Mr. Sasser would need to go
through appropriate underwriting. l hope this information is helpful in explaining our
rating classification determinations on contractual conversions.

Sincerely,

Eleanor S. Hartley, FSA, FLM|, CLU

Vice President and Actuary, Prudential Financial

cc RobertR Willlams,ReglonalBrokerageDtrector,PrudentialSelect Brokerage~ ..
~ St€ve.;-lagk§gn,..Pr.i_ncipal,»Amer,ican-Bjrol<erage:£>empany - ~ - . .-

Case 3:11-cV-00866 Document 1-1 Filed 09/13/11 Page 36 of 43 Page|D #: 42

Case 3:11-cV-00866 Document 1-1 Filed 09/13/11 Page 37 of 43 Page|D #: 43

t£:

Nashvi|le City Center 2
511 union street, suite 2700 ‘g!l "iUG [
Nashvilie, Tennessee 37219-8§66
(615) 350-aisi L/`a’t’i

 

November 29, 2005

VIA OVERNIGHT DELIVERY

Prudential Select Brokerage
Attn: Life New Business
Suite DTY

2101 Welsh Road

Dresher, PA 19025

Re: lnsured Gary Sasser; Policy Number B4048620 [“Term Policy”]

Dear Sir or Madam:

As Trustee under an irrevocable Trust Agreement dated October 17,
1996, and owner of the above referenced policy, l hereby elect to convert this policy
to a PruLife UL Protector Life lnsurance Policy, insured Gary Sasser, insurance
amount $30,000,000, Type A (Fixed) Death Benefit. Pursuant to the terms of the
Term Policy Prudential Financial is required to convert this policy to a new contract
“in the same rating class” as the Term Policy. The Term Policy’s rating class is
“Preferred.” Accordingly, we demand a conversion to the current underwriting
classiEcation of “Preferred Non-Smoker.” By the express terms of the Term Policy,
this is the “same rating class.” The Term Policy does not authorize conversion to
“an~ equivalent rating class” as permitted by some of your company’s contractual
policy language contained in later issued policies.

As set forth in the PruLife UL Protector Life lnsurance Policy
lndividual Basic lllustration dated November 23, 2005, with ID number
11232005125218, We tender the Preferred Non-Smoker premium _of $385,282.0().
Enolosed also is the Prudential Financial Request for Change Short Form With the
required information from me as Trustee.

1165359.1
Case 3:11-cv-00866 Document 1-1 Filed 09/13/11 Page 38 of 43 Page|D #: 44

November 29, 2005
Page 2

We await issuance of this new life insurance policy and expressly do

not cancel the Term Policy until the PruLife UL Protector Life lnsurance Policy is
issued in the Preferred Nonsmoker rating class.

Sincerely,

Richard A., J oh son, Trustee

LH:RAJ:CDA/dkh
4Enclosures

cc: Roy Depue
Steve Jackson

1165359.1
Case 3:11-cv-00866 Document 1-1 Filed 09/13/11 Page 39 of 43 Page|D #: 45

Case 3:11-cv-00866 Document 1-1 Filed 09/13/11 Page 40 of 43 Page|D #: 46

t ` . . _ . - Eleaners.Ha'._.»y,FsA,Fn_.,‘cts
P_rudential @ Financlal vice president a Actuery re

s
s

The Prudeniial lnsurant‘;e Conipanli §Arg§;:,§:§
213 washington street N v try 7102<37%‘ over
Te1973802-3681 Fe><973799~00 // PH

  

 

eleanor.hartley@prudei`i,tial;ér\ij_qi"" . 3:30
November 6, 2005 RETURN RECEIPT REOUESTLE' v f §e,- ;;ré,[?
. ?rifl"n » `
Richard Johnson, Trustee \9€§,5,;

Waller Lansden Dortch & Davis, PLLC
511 Union Street

Suite 2700

Nashville, TN 37219

Re: lnsured: Gary Sasser Policy Number: B4048620
Dear Mr. Johnson and Mr. Allen,

We have received your letter dated November 29, 2005, the Change Short Form, and your
remittance of $3 85 ,282.00. However, We are unable to honor your request to convert the term
policy B4048620 to a PruLii`e UL Protector Life lnsurance Policy with a rating classification oi`
Preferred Nonsmoker.

Your term policy provided a right to convert to a new contract in the same rating class as this
contract. The rating class that is the same rating class that you received at the time the term policy
was issued is Nonsmoker. This is the same rating class that was previously called Preferred.

Since we are unable to issue a PruLife UL Protector policy with rating classification Preferred
Nonsmoker without underwriting, we are returning your check and pap erwork. The conversion
annual premium for a UL Protector With a rating classification of Nonsmoker that corresponds to
the $385,282.00 annual premium for the Preferred Nonsmoker and utilizes your term conversion
premium credit of $100,872.00 is $461,020.00. If we receive the application with the annual
premium payment of $461,020.00 or the Minimum lnitial Premium of $53,005.28 by Decernber
20, 2005 , we Will allow the conversion to a PruLIfe UL Protector with rating class Nonsmoker;
otherwise you will no longer have the ability to convert your term policy.

We would be happy to consider issuing a new PruLife UL Protector with a Preferred Nonsmoker
rating or a rating reduction on the issued conversion policy if Mr. Sasser satisfies the appropriate
underwriting requirements

Sincerely,

Eleanor S. Hartley, FSA, MI, CLU

Vice President & Actuary

Attachments: Check #1038, Policy, Request Change

cc: Robert R. Williams, Regional Brokerage Director, Prudential Select Brokerage
Steve Jackson, Principal, American Brokerage Company

Case 3:11-cv-00866 Document 1-1 Filed 09/13/11 Page 41 of 43 Page|D #: 47

Case 3:11-cv-00866 Document 1-1 Filed 09/13/11 Page 42 of 43 Page|D #: 48

Nashvi|le City Center
511 Union Street, Suite 2700
Post Office Box 198966
Nashvi|le, Tennessee 37219-8966
(615) 850-8151
Fax: (615) 244-6804

 

February 16, 2006

VIA HAND DELIVERY

Prudential Life lnsurance Company
c/o Mr. Roy DePue `

Mr. Steve Jackson

American Brokerage Comp any

955 Woodland Street

Nashvi]le, TN 37206

Re: lnsured Gary Sasser; Policy Number B4048620 [“Term Policy”]
Dear Ms. Hartley:

In accordance with your letter dated November 6, 2005, and our letter
dated December 19, 2005, the ’l‘rust elects to convert the Term Policy and we are
enclosing the Application for Life lnsurance or Policy Change to convert the Term
Policy. By converting this policy under the terms of your letter dated November 6,
2005, and received by us in early December 2005, we, as Trustees of the Gary D
Sasser Irrevocable Trust, expressly reserve all legal rights available to it as set

forth m our letter dated November 29, 2005.

Richard A. Johnson, Trustee

WM
. ale` Allen, Trustee

RAJ/dl<h
Enclosures

1185944.1
Case 3:11-cv-00866 Document 1-1 Filed 09/13/11 Page 43 of 43 Page|D #: 49

